         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 1 of 11




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

GPDEV, LLC AND SIMONS
EXPLORATION, INC.,
                                                 Case No.: 4:18-cv-00442-RH-CAS
                  Plaintiffs,
v.

TEAM SYSTEMS INTERNATIONAL,
LLC,

          Defendant.
________________________________/

            PLAINTIFFS’ REQUESTS FOR PRODUCTION CONCERNING
                          DIVERSITY JURISDICTION

            Plaintiffs, GPDEV, LLC and Simons Exploration, Inc., submit the following

requests for production of the Defendant, Team Systems International, LLC,

Pursuant to Fed. R. Civ. P. 34 and the Court’s Order authorizing jurisdictional

discovery [ECF 18].

                                Definitions and Instructions

      A.     The term “records” means all tangible things of every nature that
contain information, including without limitation, agreements, analyses,
appointment records, audio recordings (whether transcribed or not), bills, books,
books of account, charts, checks, communications, computer cards, computer
printouts, computer programs, contracts, correspondence, diaries, disks, diskettes,
documents, drafts, drawings, electronic mail, including instant message, text
messages and “twitter”, financial statements, forms, graphs, handbooks, invoices,
itemizations, journals, leases, ledgers, licenses, manuals, maps, memoranda,
minutes, notes (whether handwritten or otherwise), opinions, permits, photographs,
plans, pleadings, proofs, publications, receipts, recordings, records, reports,
sketches, specifications, spreadsheets, statements, studies, summaries, tapes,
                                             1
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 2 of 11




telefaxes, telegrams, telexes, other telecommunication materials, video recordings,
writings of every kind, and all other data compilations from which information can
be obtained or translated through detection devices or otherwise into reasonably
usable form, including all such items in the possession, custody, or control of any of
your attorneys, accountants, officers, directors, employees, or agents wherever
located on your behalf.

      B.     The pertinent time period shall be defined as January 1, 2010, to the
present unless specifically indicated by the individual request for production.

      C.     If there is any document or other tangible item described by this request
which is no longer in your possession, custody or control, or is no longer in existence
or accessible to you, please indicate:

            (1)   the date and nature of the disposition of such document or other tangible
                  item, including, but no limited to, whether such: (a) is missing or lost,
                  (b) has been destroyed, or (c) has been transferred to another person;

            (2)   the circumstances surrounding such disposition, including any
                  authorization therefore; and

            (3)   where applicable, the person currently in possession, custody or control
                  of such document or item.

      D.     All records must be produced as they are kept in the usual course of
business or must be identified to correspond to the categories of records requested.

       E.    All records in your possession, custody or control must be produced,
including records in the possession, custody or control of your agents, attorneys or
any other person acting on your behalf or for your benefit, either directly or
indirectly.

       F.      If any records or information requested is withheld based on a claim
that it is privileged or otherwise protected from disclosure, you are requested to
furnish a list specifying each record for which the privilege is claimed, together with
information with respect to each such record sufficient to enable undersigned
counsel to identify the record and evaluate the claim of privilege. This information
should include, but not be limited to, the following:

            (1)   the date appearing on the record, or if no date appears, the date on which
                                               2
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 3 of 11




                  the record was prepared;

            (2)   the name of the person(s) preparing the record (and if named in the
                  record, the name of the addressees and other recipients);

            (3)   the general nature of the record, and a sufficient description of the
                  subject matter of the record (without disclosing its contents) to enable
                  the court to rule on the claim of privilege; and

            (4)   the specific ground(s) on which the claim of privilege rests.

      G.          For any requested record that is no longer in existence or cannot be
located:

            (1)   identify and describe the record as completely as possible; and

            (2)   state when and how the record passed out of existence or why it can no
                  longer be located, including whether the record was lost, destroyed,
                  discarded, or provided to a third party, in which case such third party
                  should be identified.

                               REQUESTED DOCUMENTS

      1. All records of, and including, Team Systems International, LLC’s operating
         agreement and any and all amendments to the operating agreement from date
         of preparation through date of this request.

      2. All records of, and including, Team Systems International Pacific, LLC’s
         operating agreement and any and all amendments to the operating agreement
         from date of preparation through date of this request.

      3. All records of, and including, TSI Gulf Coast, LLC’s operating agreement
         and any and all amendments to the operating agreement from date of
         preparation through date of this request.

      4. All records used in preparation of Team Systems International, LLC’s
         operating agreement and any and all amendments to the operating agreement
         from period of preparation through date of this request.



                                              3
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 4 of 11




      5. All records used in preparation of Team Systems International Pacific,
         LLC’s operating agreement and any and all amendments to the operating
         agreement from period of preparation through date of this request.

      6. All records used in preparation of TSI Gulf Coast, LLC’s operating
         agreement and any and all amendments to the operating agreement from
         period of preparation through date of this request.

      7. All records apportioning membership interests in Team Systems
         International, LLC.

      8. All records apportioning membership interests in Team Systems
         International Pacific, LLC.

      9. All records apportioning membership interests in TSI Gulf Coast, LLC.

      10.All records of agreement adding Steve Acosta as member of Teams Systems
         International, LLC.

      11.All records of agreement adding Deborah Mott as member of Teams
         Systems International, LLC.

      12.All records of agreement adding Chris Mott as member of Teams Systems
         International, LLC.

      13.All records of agreement adding John Maciorowski as member of Teams
         Systems International, LLC.

      14.All records used in connection with preparing agreement to add Steve
         Acosta as a member of Teams Systems International, LLC.

      15.All records used in connection with preparing agreement to add Deborah
         Mott as a member of Teams Systems International, LLC.

      16.All records used in connection with preparing agreement to add Chris Mott
         as a member of Teams Systems International, LLC.

      17.All records used in connection with preparing agreement to add John
         Maciorowski as a member of Teams Systems International, LLC.


                                          4
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 5 of 11




      18.All records identifying Steve Acosta’s title, role and/or responsibilities with
         Team Systems International, LLC.

      19.All records identifying Deborah Mott’s title, role and/or responsibilities with
         Team Systems International, LLC.

      20.All records identifying Chris Mott’s title, role and/or responsibilities with
         Team Systems International, LLC.

      21.All records identifying John Maciorowski’s title, role and/or responsibilities
         with Team Systems International, LLC.

      22.All records and marketing materials and proposal submittals in which Team
         Systems International, LLC identifies Steve Acosta as a member of Team
         Systems International, LLC.

      23.All records documenting member payment distributions from Team Systems
         International, LLC to Steve Acosta per his membership interest.

      24.All records documenting member payment distributions from Team Systems
         International, LLC to Deborah Mott per her membership interest.

      25.All records documenting member payment distributions from Team Systems
         International, LLC to Chris Mott per his membership interest.

      26.All records documenting member payment distributions from Team Systems
         International, LLC to John Maciorowski per his membership interest.

      27.All records of Team Systems International, LLC’s banking that identify
         Steve Acosta as a signatory of any accounts.

      28.All records signed by Steve Acosta as a partner or member of Team Systems
         International, LLC.

      29.All records of RFPs, RFQs or any similar document(s) applying to the
         Federal Government in order to contract for services offered by Team
         Systems International, LLC from January 1, 2016, through the date of this
         request.



                                             5
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 6 of 11




      30.All records of payment of taxes by Steve Acosta, attributable to his
         membership in Team Systems International, LLC to the State of California.

      31.Any and all cancelled checks documenting payments to Steve Acosta in
         accordance with his percentage membership in Team Systems International,
         LLC.

      32.All records showing payment from Team Systems International, LLC to
         Steve Acosta from January 1, 2016, through date of this request.

      33.All records of any employment agreement between Team Systems
         International, LLC and Steve Acosta.

      34.All records of any employment agreement between Team Systems
         International, LLC and Deborah Mott.

      35.All records of any employment agreement between Team Systems
         International, LLC and Chris Mott.

      36.All records of any employment agreement between Team Systems
         International, LLC and John Maciorowski.

      37.All records of employee handbooks maintained by Team Systems
         International, LLC.

      38.All records of signed employee handbooks by Steve Acosta maintained by
         Team Systems International, LLC.

      39.All employment records of Steve Acosta from commencement of his
         employment with Team Systems International, LLC through date of this
         request.

      40.All records of corporate filings of Team Systems International, LLC from
         inception through date of this request.

      41.All records of tax returns of Team Systems International, LLC from January
         1, 2010 through the date of this request.

      42.All records relied upon in preparing Team Systems International, LLC’s tax
         returns from January 1, 2010, through the date of this request.
                                          6
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 7 of 11




      43.All records of Team Systems International, LLC’s tax filings in the State of
         California.

      44.All records of Team Systems International, LLC errors and omissions
         insurance documents that reflect Steve Acosta as a member of the LLC.

      45.All records of Team Systems International, LLC Directors and Officers
         insurance documents that reflect Steve Acosta as a member of the LLC.

      46.All banking records that document Team Systems International, LLC
         member consideration provided from January 1, 2016, through the date of
         this request.

      47.All records of any written evidence of recognition of LLC membership for
         Steve Acosta by Team Systems International, LLC or third parties.

      48.All records of any written evidence of notification to an accountant of Steve
         Acosta’s membership interest in Team Systems International, LLC and
         provision on company records to reflect interest percentage.

      49.All records of any written correspondence concerning any notice of
         membership in Team Systems International, LLC for Steve Acosta.

      50.All records establishing and regarding the relationship between Team
         Systems International, LLC and Team Systems International Pacific, LLC.

      51.All records establishing and regarding the relationship between Team
         Systems International, LLC and TSI Gulf Coast, LLC.

      52.All records reflecting taxes paid by Steve Acosta to Texas from January 1,
         2016, through the date of this request.

      53.All records reflecting taxes paid by Steve Acosta to California from January
         1, 2016, through the date of this request.

      54.All records reflecting taxes paid by Steve Acosta to Nevada from January 1,
         2016, through the date of this request.



                                            7
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 8 of 11




      55.All records of tax returns for TSI Gulf Coast, LLC from January 1, 2016,
         through the date of this request.

      56.All records relied upon in preparing TSI Gulf Coast, LLC’s tax returns from
         January 1, 2016, through the date of this request.

      57.All records of tax returns for Team Systems International Pacific, LLC from
         January 1, 2016, through the date of this request.

      58.All records relied upon in preparing Team Systems International Pacific,
         LLC’s tax returns from January 1, 2016, through the date of this request.

      59.All records concerning Steve Acosta serving as a registered agent for, and
         member of, TSI Gulf Coast, LLC with the address: 10131 Summit Run Dr.,
         Frisco, Texas.

      60.All records concerning Steve Acosta serving as a registered agent for, and
         member of, Team Systems International Pacific, LLC with the address: 2300
         W Sahara Ave., Suite 800, Las Vegas Nevada 89102.

      61.Color copy of front and back of Steve Acosta’s California drivers’ license.

      62.Color copy of front and back of Steve Acosta’s Texas drivers’ license.

      63.Color copy of front and back of Steve Acosta’s Nevada drivers’ license.

      64.Color copy of front and back of Steve Acosta’s Voter Registration(s) from
         2010 through present.

      65.All records of lease agreements Steve Acosta has signed from January 1,
         2010, through the date of this request.

      66.All records of real property purchases made by Steve Acosta from January 1,
         2010, through the date of this request.

      67.All records of Steve Acosta’s lease agreement for property located at: 10131
         Summit Run Dr., Frisco, TX 75035-4725.

      68.All records of TSI Gulf Coast, LLC’s lease agreement for property located
         at: 10131 Summit Run Dr., Frisco, TX 75035-4725.
                                            8
4836-6673-7537
057177/01500
         Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 9 of 11




      69.All records of lease agreement for property located at: 10131 Summit Run
         Dr., Frisco, TX 75035-4725.

      70.Complete copy of all Facebook posts and activity for Steve Acosta from
         January 1, 2016, through the date of this request. This request is simply
         accomplished by accessing your user account within the Facebook website
         or app, and using the “Download Your Information” tool, accessible through
         the Settings drop down menu.

      71.Complete copy of all Facebook posts and activity for Deborah Mott from
         January 1, 2016, through the date of this request. This request is simply
         accomplished by accessing your user account within the Facebook website
         or app, and using the “Download Your Information” tool, accessible through
         the Settings drop down menu.

      72.Complete copy of all Facebook posts and activity for Chris Mott from
         January 1, 2016, through the date of this request. This request is simply
         accomplished by accessing your user account within the Facebook website
         or app, and using the “Download Your Information” tool, accessible through
         the Settings drop down menu.

      73.Complete copy of all Facebook posts and activity for John Maciorowski
         from January 1, 2016, through the date of this request. This request is
         simply accomplished by accessing your user account within the Facebook
         website or app, and using the “Download Your Information” tool, accessible
         through the Settings drop down menu.

      74.Complete copy of all posts and activity for Steve Acosta’s LinkedIn profile
         from January 1, 2016, through the date of this request.

      75.Complete copy of all posts and activity for Deborah Mott’s LinkedIn profile
         from January 1, 2016, through the date of this request.

      76.Complete copy of all posts and activity for Chris Mott’s LinkedIn profile
         from January 1, 2016, through the date of this request.

      77.Complete copy of all posts and activity for John Maciorowski’s LinkedIn
         profile from January 1, 2016, through the date of this request.


                                           9
4836-6673-7537
057177/01500
        Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 10 of 11




            Respectfully submitted this 30th day of November, 2018.

                                         s/ Leonard M. Collins
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                                            10
4836-6673-7537
057177/01500
        Case 4:18-cv-00442-RH-MAF Document 22-1 Filed 12/07/18 Page 11 of 11




                              CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that the original of the foregoing has been served via

electronic mail and U.S. Mail on counsel for Defendant at the below address this

30th day of November, 2018.

 Randall Leshin
 Florida Bar No. 380253
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 Counsel for Defendant, Team Systems
 International, LLC


                                                s/ Leonard M. Collins
                                                Attorney




                                           11
4836-6673-7537
057177/01500
